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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                         Criminal No. 08-395 (RHK/JJG)

                       Plaintiff

v.                                               ORDER FOR APPEARANCE OF
                                                 DEFENDANT AND FOR
KELVIN MARTEL BRONNER                            TRANSPORTATION EXPENSES
                                                 PURSUANT TO 18 U.S.C. §4285
                       Defendant.




      The Court having held Defendant to answer in the United States Court for

the District of Minnesota in St. Paul, Minnesota, and finding that the Defendant

has been released from custody, currently resides in Detroit, Michigan, and is

financially unable to provide the necessary transportation to appear before the

United States Probation officer conducting the Court-ordered presentence

investigation interview,

      IT IS ORDERED that the indigent Defendant, released from custody, appear

before the above-referenced United States Probation officer on May 14, 2009, no

later than 10:00 AM.

      IT IS FURTHER ORDERED that the United States Marshal furnish the

indigent Defendant transportation to appear before the Court, transportation to

return home to Detroit, Michigan, after said court hearing, and to furnish

subsistence expenses not to exceed per diem allowance for travel contemplated

under 5 U.S.C. § 5702(a) all as authorized by 18 U.S.C. § 4285.
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 5/8/09                        s/Richard H. Kyle
Date                           Honorable Richard H. Kyle
                               United States District Court Judge
